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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 21-CIV-60083-RAR

  WARREN DARLOW,

         Plaintiff,

  v.

  CITY OF CORAL SPRINGS, et al.,

        Defendants.
  ________________________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE came before the Court for a status conference on January 12, 2022. [ECF

  No. 43]. Shortly thereafter, the Court entered an Order Granting Defendant City of Coral Springs’

  Motion to Dismiss Count II of the Amended Complaint with Prejudice [ECF No. 44]. Previously,

  the Court denied Defendants’ Motion to Dismiss as to Count I of Plaintiff’s original Complaint

  [ECF No. 22]. Since then, Defendant has appealed the Court’s Order Denying in Part the Motion

  to Dismiss [ECF No. 26]. However, on December 22, 2021, that appeal was dismissed due to

  appellant’s failure to file an appendix. [ECF No. 41]. At today’s status conference, defense

  counsel informed the Court that a motion to reinstate the appeal has been filed with the Eleventh

  Circuit (“Motion to Reinstate”).

         Given that the Court has dismissed Count II of the Amended Complaint, and the Eleventh

  Circuit has yet to address the Motion to Reinstate (and could very well reinstate the appeal),

  judicial economy dictates that this case be stayed for a period of thirty (30) days, or until such time

  as the Eleventh Circuit addresses the Motion to Reinstate—whichever occurs sooner.

  Accordingly, the Court having carefully reviewed the file, and being otherwise fully advised, it is
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         ORDERED AND ADJUDGED as follows:

         1.      The above-styled action is administratively CLOSED without prejudice for a

  period of thirty (30) days from the date of this Order.

         2.      As discussed during the status conference and agreed to by the parties, if the

  Eleventh Circuit grants the Motion to Reinstate in the next thirty (30) days, defense counsel shall

  promptly advise the Court—and the Court will proceed with staying this case and keeping it

  administratively closed during the pendency of the appeal.

         3.      If the Eleventh Circuit has yet to rule on the Motion to Reinstate at the end of the

  thirty-day period, defense counsel shall file a status report with the Court.

         4.      The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.



         DONE AND ORDERED in Fort Lauderdale, Florida, this 12th day of January, 2022.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE




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